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 5   CJA Counsel for Defendant
     Evelyn Brigget Sanchez
 6
 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
         UNITED STATES OF AMERICA,                ) Case No. 1:10-cr-00249-AWI-BAM-3
11                                                )
                         Plaintiff,               ) STIPULATION AND ORDER TO CONTINUE
12                                                ) SURRENDER DATE
         vs.                                      )
13                                                )
         EVELYN BRIGGET SANCHEZ,                  )
14                                                )
                        Defendant.                )
15                                                )
                                                  )
16
17                                             STIPULATION
18             The United States of America, by and through its counsel of record, and defendant
19   Evelyn Brigget Sanchez, by and through her counsel of record, hereby stipulate that the
20   surrender date of August 10, 2015, to the institution designated by the Bureau of Prisons be
21   continued to November 9, 2015, by 2:00 p.m.
22             The reason for this continuance is that Ms. Sanchez is a postpartum mother who follows
23   the medical guideline that babies should be exclusively breastfed for the first six months of life,
24   as Ms. Sanchez has done with two of her older children. This medical guideline is endorsed by
25   major medical organizations such as the World Health Organization (WHO) and the American
26   Academy of Pediatrics (AAP).1 At the time of the November 9, 2015 surrender date, Ms.
27
28   1
         See e.g.: http://www.who.int/nutrition/topics/exclusive_breastfeeding/en/ and
                                                        -1-
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 1   Sanchez’s baby will be six months old.

 2            The government does not oppose the defendant’s request for a continuance of her

 3   surrender date. It is anticipated by counsel and Ms. Sanchez that no further continuance will be

 4   requested.

 5   IT IS SO STIPULATED.

 6   Dated: July 16, 2015                         /s/ Lisa Sciandra
                                                  LISA SCIANDRA
 7                                                Attorney at Law
                                                  CJA Counsel for Defendant
 8                                                EVELYN BRIGGET SANCHEZ

 9   Dated: July 16, 2015                         /s/ Henry Z. Carbajal III
                                                  HENRY Z. CARBAJAL III
10                                                Assistant United States Attorney
11
12                                               ORDER
13            Good cause appearing, Defendant’s surrender date of August 10, 2015, is continued to
14   November 9, 2015, by 2:00 p.m.
15
16   IT IS SO ORDERED.
17   Dated:    July 17, 2015
18                                               SENIOR DISTRICT JUDGE

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     https://healthychildren.org/English/news/Pages/AAP-Reaffirms-Breastfeeding-Guidelines.aspx.
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